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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                            :
                                                    :
                                                    :
               v.                                   :       Crim. No.: 14-141 (CRC)
                                                    :
                                                    :
AHMED SALIM FARAJ ABU                               :
  KHATALLAH,                                        :
                                                    :
       also known as Ahmed Abu Khatallah,           :
       also known as Ahmed Mukatallah,              :
       also known as Ahmed Bukatallah,              :
       also known as Sheik,                         :
                                                    :
               Defendant.                           :


                GOVERNMENT’S MEMORANDUM CONCERNING THE
                  CLASSIFIED INFORMATION PROCEDURES ACT

                                          Introduction

       This matter involves the prosecution of international terrorism-related offenses.       As

noted during the July 8, 2014, and October 20, 2014 status hearings, this case involves a large

amount of classified information.   The government anticipates that issues relating to classified

information will arise, requiring application of the Classified Information Procedures Act

(CIPA), 18 U.S.C. App. 3.    The purpose of this memorandum is to provide the court a general

overview of CIPA.

                                       CIPA Discussion

       CIPA contains a set of procedures by which federal courts rule on pretrial matters

concerning discovery, admissibility and the use of classified information in criminal cases.   See



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United States v. Baptista-Rodriguez, 17 F.3d 1354, 1363 (11th Cir. 1994).     CIPA’s fundamental

purpose is to “harmonize a defendant’s right to obtain and present exculpatory material [at] trial

and the government’s right to protect classified material in the national interest.” United States

v. Pappas, 94 F.3d 795, 799 (2d Cir. 1996) (citation and internal quotes omitted).                It

“evidence[s] Congress’s intent to protect classified information from unnecessary disclosure at

any stage of a criminal trial.” United States v. Apperson, 441 F.3d 1162, 1192 n.8 (10th Cir.

2006) (citation omitted).

       The Supreme Court has acknowledged the importance of protecting the nation’s secrets

from disclosure:   “The Government has a compelling interest in protecting both the secrecy of

information important to our national security and the appearance of confidentiality so essential

to the effective operation of our foreign intelligence service.” CIA v. Sims, 471 U.S. 159, 175

(1985) (quoting Snepp v. United States, 444 U.S. 507, 509 n.3 (1980) (per curiam)); accord

Chicago & Southern Air Lines, Inc. v. Waterman S.S. Corp., 333 U.S. 103, 111 (1948) (“The

[executive branch] has available intelligence services whose reports are not and ought not to be

published to the world.”).   Accordingly, federal courts have long recognized that “[i]t is not in

the national interest for revelation of either the existence or the product of [foreign intelligence

operations and information] to extend beyond the narrowest limits compatible with the assurance

that no injustice is done to the criminal defendant.” United States v. Lemonakis, 485 F.2d 941,

963 (D.C. Cir. 1973).

       CIPA neither creates any new rights of discovery nor expands the rules governing the

admissibility of evidence. See United States v. Johnson, 139 F.3d 1359, 1365 (11th Cir. 1998)

(”CIPA has no substantive impact on the admissibility or relevancy of probative evidence.”);



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accord United States v. Dumeisi, 424 F.3d 566, 578 (7th Cir. 2005) (“CIPA does not create any

discovery rights for the defendant.”); United States v. Smith, 780 F.2d 1102, 1106 (4th Cir. 1985)

(en banc).   Rather, CIPA applies preexisting general discovery law in criminal cases to

classified information and restricts discovery of classified information to protect the

government’s national security interests. See Baptista-Rodriguez, 17 F.3d at 1363-64; United

States v. Klimavicius-Viloria, 144 F.3d 1249, 1261 (9th Cir. 1998); United States v. Yunis, 867

F.2d 617, 621 (D.C. Cir. 1989).

       Accordingly, CIPA does not “expand the traditional rules of discovery under which the

government is not required to provide criminal defendants with information that is neither

exculpatory nor, in some way, helpful to the defense.” United States v. Varca, 896 F.2d 900,

905 (5th Cir. 1990); accord United States v. McVeigh, 923 F.Supp. 1310, 1314 (D. Colo. 1996)

(“but CIPA does not enlarge the scope of discovery or of Brady.”).    Nor does it provide that the

admissibility of classified information be governed by anything other than the well-established

standards set forth in the Federal Rules of Evidence. See Baptista-Rodriguez, 17 F.3d at 1364.

       A. Section 1 – Definitions

       For the purposes of CIPA, “classified information” includes any information or material

that has been determined by the United States government pursuant to law or regulation to

require protection against unauthorized disclosure for reasons of national security.    18 U.S.C.

App. 3 at § 1(a).   “National security” means the national defense and foreign relations of the

United States.   Id. at § 1(b).

       CIPA applies equally to classified testimony and classified documents.          See United

States v. Lee, 90 F.Supp. 2d 1324, 1326 n.1 (D.N.M. 2000) (citing United States v. North, 708



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F.Supp. 399, 399-400 (D.D.C. 1988)); Kasi v. Angelone, 200 F.Supp. 2d 585, 596-97 (E.D. Va.

2002) (applying CIPA to classified testimony).

       B. Section 2 – Pretrial Conference

       Section 2 of CIPA authorizes the court, upon motion by any party or at its own discretion,

to hold a pretrial conference “to consider matters relating to classified information that may arise

in connection with the prosecution.” 18 U.S.C. App. 3 at § 2.        Following such a motion, the

district court, “shall promptly hold a pretrial conference to establish the timing of requests for

discovery, the provision of notice required by section 5 of this Act, and the initiation of the

procedure established by Section 6 of this Act [to determine the use, relevance, or admissibility

of classified information].” Id.

       C. Section 3 – Protective Order

       Section 3 of CIPA mandates that the district court issue a protective order upon motion

by the United States to protect against the disclosure of any classified information that may be

disclosed by the government to defense counsel or the defendant.      Id. at § 3.   On July 3, 2014,

with the consent of the defense, the court issued a protective order in this case, pursuant to

Section 3 of CIPA.

       D. Section 4 – Protection of Classified Information During Discovery

       Section 4 of CIPA authorizes the district court “upon a sufficient showing” to deny or

otherwise restrict discovery by the defendant of classified documents and information belonging

to the United States.   18 U.S.C. App. 3 at § 4; see, e.g., United States v. Rezaq, 134 F.3d 1121,

1142 (D.C. Cir. 1998); Yunis, 867 F.2d at 619-625.       Similarly, the Federal Rules of Criminal

Procedure provide, in pertinent part, that “[u]pon a sufficient showing,” a district court: “may,



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for good cause, deny, restrict, or defer discovery or inspection, or grant other appropriate relief.”

Fed. R. Crim. P. 16(d)(1).        The legislative history of CIPA makes it clear that Section 4 was

intended to clarify the district court’s power under Rule 16(d)(1) to deny or restrict discovery in

order to protect national security.          See S. Rep. No. 96-823 at 6, 1980 U.S.C.C.A.N. at

4299-4300; see also United States v. Pringle, 751 F.2d 419, 427 (1st Cir. 1984).

                 Section 4 provides, in pertinent part, that a district court:

                          upon a sufficient showing, may authorize the United States
                          to delete specified items of classified information from
                          documents to be made available to the defendant through
                          discovery under the Federal Rules of Criminal Procedure,
                          to substitute a summary of the information for such
                          classified documents, or to substitute a statement admitting
                          relevant facts that the classified information would tend to
                          prove. The court may permit the United States to make a
                          request for such authorization in the form of a written
                          statement to be inspected by the court alone.

18 U.S.C. App. 3 at § 4.       In essence, Section 4 allows the United States to request that the court

review, ex parte and in camera, classified information to determine whether it is discoverable

under Rule 16, Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150

(1972), or the Jencks Act, and to protect such classified information from disclosure through

various means if it is discoverable. 1       See United States v. Libby, 429 F.Supp. 2d 18, 22 (D.D.C.

Apr. 5, 2006) (amended by United States v. Libby, 429 F.Supp. 2d 46, 47 (D.D.C. May 3, 2006));

see also Klimavicis-Viloria, 144 F.3d at 1261-62; Rezaq, 134 F.3d at 1142; Yunis, 867 F.2d at

619-25; Pringle, 751 F.2d at 427-28; Kasi, 200 F.Supp. 2d at 596 n.6.




1       In determining whether classified information provided to the court under CIPA is relevant and potentially
discoverable, it is appropriate for the court to meet with government counsel ex parte to consider the matter. See
United States v. Mejia, 448 F.3d 436, 457 (D.C. Cir. 2006), Libby, 429 F.Supp. 2d at 24-25.

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        E. Section 5 and 6 – Procedure for the Disclosure of Classified Information at Trial

        Sections 5 and 6 of CIPA apply with respect to the use and potential disclosure of

classified information during the course of a trial or proceeding. See, e.g., Baptista-Rodriguez,

17 F.3d at 1363; United States v. Collins, 720 F.2d 1195, 1199-1200 (11th Cir. 1983).       Section

5 requires the defendant to provide timely written notice to the court and the government

describing any classified information that he reasonably expects to disclose.       See 18 U.S.C.

App. 3 at § 5(a).   Notification must take place “within the time specified by the court, or when

no time is specified, within thirty days prior to trial.” Id.     Although the description of the

classified information may be brief, it must be particularized and set forth the specific classified

information that the defendant reasonably believes to be necessary to his defense.     See Collins,

720 F.2d at 1199.     The defendant must provide formal notice under Section 5 even if the

government believes or knows that the defendant may assert a defense involving classified

information.   See United States v. Badia, 827 F.2d 1458, 1465-66 (11th Cir. 1987).

        Section 5 specifically prohibits the defendant from disclosing any classified information

in a trial or pretrial proceeding until such notice has been given, the government has had the

opportunity to seek determination pursuant to Section 6, and any appeal by the government

under Section 7 has been decided or the time for filing an appeal has expired.    18 U.S.C. App. 3

at § 5(a).   If the defendant fails to provide the requisite pretrial notice, then the court may

preclude disclosure of any classified information not made the subject of the notification, and

may prohibit the defendant from examining any witnesses with respect to such information. Id.

at § 5(b).




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       After the defendant files the requisite notice, under Section 6(a), the government may

request a hearing at which the court will make “all determinations concerning the use, relevance

or admissibility” of the proposed defense evidence.       18 U.S.C. App. 3 at § 6(a).     Upon such a

request, the court shall conduct a hearing. Id.       The hearing shall be conducted in camera if the

Attorney General certifies to the court that a public proceeding may result in the disclosure of

classified information.    Id.   Before the hearing, the government must first provide the

defendant with notice of the classified information that will be at issue. Id. at § 6(b)(1).        If the

particular information was not previously available to the defendant, the government may, with

the court’s approval, provide a generic description of the material to the defendant.         Id.    The

court may also, upon request of the defendant, order the government to provide the defendant

prior to trial “such details as to the portion of the indictment or information at issue in the

hearing as are needed to give the defendant fair notice to prepare for the hearing.”                Id. at

§ 6(b)(2).

       If the government requests a hearing before the trial or other proceeding at which the

defendant expects to disclose the classified information, the court must issue a ruling before the

trial or other proceeding begins. Id. at § 6(a).       The court’s ruling must be in writing and set

forth the basis for its determination as to each item of classified information.    Id.

       If, after an in camera hearing, the court determines that the classified information at issue

may not be disclosed or elicited during the proceeding, the record of the hearing must be sealed

and preserved for use in the event of an appeal.        Id. at § 6(d). If the court finds the classified

evidence may be disclosed or elicited, the government may move for, the court may authorize (1)

the substitution of a statement admitting the relevant fats that the specific classified information



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would tend to prove, or (2) the substitution of a summary of the classified information.      Id. at

§ 6(c)(1).

       If the court denies the government’s motion for substitution under Section 6(c), CIPA

permits the government, by affidavit from the Attorney General, to object to the disclosure of the

classified information at issue. Id. at § 6(e)(1).   Upon the government’s filing of the Attorney

General’s affidavit, the court “shall order that the defendant not disclose or cause the disclosure

of such information,” id., and may impose a sanction against the government to compensate for

the defendant’s inability to present proof of the specific item of classified information.   See S.

Rep. 96-823 at 9, 1980 U.S.C.C.A.N. at 4302-3.        Section 6(e)(2) provides a sliding scale of

possible sanctions, which include dismissal of specific counts, finding against the government on

an issue to which the classified information related, striking or precluding testimony of a witness,

or dismissing the indictment. 18 U.S.C. App. 3 at § 6(e)(2).        An order imposing a sanction

shall not take effect until the government has the opportunity to appeal the order under Section 7

or thereafter withdraws its objection to the disclosure of the information. Id.

       Whenever the court rules at a Section 6(a) hearing that classified information is

admissible, the court must require the government to provide the defendant with information it

expects to use to rebut the classified information “unless the interests of fairness do not so

require.” Id. at § 6(f).   The court may place the United States under a continuing duty to

disclose rebuttal information. Id.    If the government fails to comply, the court may exclude

the rebuttal evidence and prohibit the government from examining any witnesses with respect to

such information. Id.




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          F. Section 7 – Interlocutory Appeal

          Section 7 permits the United States to take an interlocutory expedited appeal to the

appellate court if the district court (a) authorized the disclosure of classified information; (b)

imposes sanctions for non-disclosure of classified information; or (c) refuses to issue a protective

order sought by the United States to prevent the disclosure of classified information.        Id. at

§ 7(b).

          G. Section 8 – Procedure Governing the Introduction of
             Classified Information at Trial or at a Pre-Trial Proceeding

          Section 8 prescribes additional protections and procedures governing the introduction of

classified information into evidence.       Id. at § 8.   Specifically, Section 8(a) provides that

classified documents may be admitted into evidence without changing their classification status.

This provision allows the classifying agency, upon completion of the trial, to decide whether

information has been so compromised that it could no longer be regarded as classified.       See S.

Rep. No. 96-823 at 10, 1980 U.S.C.C.A.N. at 4304.

          Section 8(b) permits the court to order admission into evidence only part of a document

when fairness does not require the whole document to be considered.           The purpose of this

provision is to clarify Federal Rule of Evidence 106, known as the rule of completeness, in order

to prevent unnecessary disclosure of classified information. Id. at 10-11, 1980 U.S.C.C.A.N. at

4304.

          Section 8(c) provides a procedure to address the problem presented at a proceeding when

the defendant’s counsel asks a question or embarks on a line of inquiry that would require the

witness to disclose classified information. Id. at 11, 1980 U.S.C.C.A.N. at 4304.      Specifically,

under Section 8(c), the government may object to any question or line of inquiry that may


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require the witness to disclose classified information that was not previously held to be

admissible.     18 U.S.C. App. 3 at § 8(c).    Following an objection, the court “shall take such

suitable action to determine whether the response is admissible as will safeguard against the

compromise of any classified information.” Id.         In effect, this procedure supplements the

notice provision under section 5 and the hearing provision in Section 6(a) to cope with situations

that cannot be handled effectively by those sections, such as where the defense counsel does not

realize that the answers to a given question will reveal classified information. S. Rep. No. 96-823

at 11, 1980 U.S.C.C.A.N. at 4303-5.

          H. Section 9 – Security Procedures

          Section 9 requires the Chief Justice of the United States, in consultation with other

executive branch officials, to prescribe rules establishing procedures to protect classified

information in the custody of federal courts from unauthorized disclosure.    18 U.S.C. App. 3 at

§ 9(a).    Security procedures established by former Chief Justice Burger pursuant to this

provision are codified directly following Section 9 of CIPA.




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        I. Sections 9A through 15

        Sections 9A through 15 are miscellaneous provisions of CIPA which are not likely to be

pertinent to this case.



                                                   Respectfully submitted,

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                                    Certificate of Service

       I hereby certify that a copy of the foregoing memorandum was served on counsel for the
defendant, Michelle Peterson, Esquire and Mary Petras, Esquire, by ECF, this 5th day of
November, 2014.


                                           ________/s/_________________
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